Case 1:21-cv-00813-TWP-DLP Document 5 Filed 04/02/21 Page 1 of 5 PageID #: 12




                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS, INDIANA

   BETTY COOPER                                  )
                                                 )
                            Plaintiff,           )
                                                 )
                  v.                             ) CAUSE NO. 1:21-cv-813-TWP-DLP
                                                 )
                                                 )
   WESTMINSTER VILLAGE NORTH,                    )
       INC.                                      )
                 Defendant,                      )

              AMENDED COMPLAINT AND DEMAND FOR JURY TRIAL

          Plaintiff, name-above, complains of act and omissions by the Defendant. In

   support of his Complaint and as cause of action against the Defendant, Plaintiff

   respectfully submits the following:

                                         JURISDICTION

      1. This suit is authorized and instituted pursuant to Title VII 42 U.S.C. § 2000e and

   42 U.S.C. § 1981 as amended by the Civil Rights Act of 1991; 28 U.S.C. §§ 1331 and

   1343, Age Discrimination in Employment Act of 1967 and Family Medical Leave Act

   (“FMLA”), 29 U.S.C. § 2601, et seq.

      1. Plaintiff fled a charge with the Equal Employment Opportunity Commission

   (EEOC) and received a notice of right to sue on February 8, 2021.

                                           PARTIES

      2. Plaintiff is an African-American female over the age of forty (40) and at all

   relevant times she resided in the Southern District of Indiana.

      3. Defendant is a corporation doing business in the State of Indiana in the Southern

   District of Indiana.
Case 1:21-cv-00813-TWP-DLP Document 5 Filed 04/02/21 Page 2 of 5 PageID #: 13




                                             FACTS

      4. Plaintiff began working at Defendant as a certified nursing assistant in April

   2008.

      5. Plaintiff performed her job well.

      6. In May 2020, Plaintiff became very ill.

      7.   Plaintiff was told by her doctor to stay home and quarantine because it was

   believed that she had contacted COVID-19. In addition, Defendant told her to stay home

   as well if she had any symptoms of COVID-19.

      8.   Plaintiff continued to go to the doctor and provided the company with my

   doctor's notes and FMLA paperwork. She was approved for FMLA, and she was

   approved for FMLA until June 2, 2020.

      9. On May 27, 2020, Plaintiff returned to work.

      10. The next day, Plaintiff had to work, but began feeling sick again. She called-in,

   and the Director of Nursing (“DON”) presented her with a final warning because the

   DON said that Plaintiff had missed too many days.

      11. Plaintiff continued to go to work, however, some days she was sent home because

   Defendant did not have enough work for her to do.

      12. On June 5, 2020, Plaintiff called and asked the nurse to check if she was on the

   schedule, and the nurse informed her that she was not on the schedule.

      13. On June 5, 2020, the Scheduler called Plaintiff and asked why she was not at

   work. Plaintiff informed the Scheduler that she was told that she was not on the schedule.
Case 1:21-cv-00813-TWP-DLP Document 5 Filed 04/02/21 Page 3 of 5 PageID #: 14




      14. The Scheduler informed her that she, in fact, was on the schedule, but to go ahead

   and stay home because her shift was filled and they were sending people home because

   there was not enough work.

      15. On June 5, 2020, the DON called and told Plaintiff that she was being terminated

   because she was a no-call no-show.

      16. Later, Plaintiff met with the DON and the DON informed Plaintiff that she had

   investigated the matter, and she was informed that Plaintiff was told that she should not

   attend work.

      17. The DON then stated that Plaintiff was terminated because of her attendance, and

   not because she was a no-call no show.

      18. There are white and younger CNA's that missed work and were late to work,

   however, they were not written up nor were they terminated.

      19. Plaintiff was terminated in retaliation for receiving FMLA.

      20. Plaintiff was terminated due to her race.

      21. Plaintiff was terminated due to her age.



                                            COUNT I

      22. Plaintiff incorporates by reference paragraphs 1-22.

      23. Defendant, as a result of terminating Plaintiff due to her race, violated 42 U.S.C. §

   1981.

                                            COUNT II

      24. Plaintiff incorporates by reference paragraphs 1-22.
Case 1:21-cv-00813-TWP-DLP Document 5 Filed 04/02/21 Page 4 of 5 PageID #: 15




      25. Defendant, as a result of terminating Plaintiff due to her race, violated Title VII

   42 U.S.C. § 2000 et al.

                                          COUNT III

      26. Plaintiff incorporates by reference paragraphs 1-22.

      27. Defendant, as a result of terminating Plaintiff due to her age, violated Age

   Discrimination in Employment Act of 1967.

                                          COUNT IV

      28. Plaintiff incorporates by reference paragraphs 1-22.

      29. Defendant, as a result of retaliating against Plaintiff, violated Family and Medical

   Leave Act (“FMLA”), 29 U.S.C. § 2601, et seq.

      WHEREFORE, Plaintiff respectfully requests that the Court grant the following

      relief:

          A. Award Plaintiff back pay and benefits lost;

          B. Award Plaintiff compensatory damages for future pecuniary loss, emotional

                pain and suffering, inconvenience, mental anguish and loss of enjoyment of

                life;

          C. Award Plaintiff punitive damages;

          D. Award Plaintiff her cost in this action and reasonable attorney fees;

          E. Grant Plaintiff any other relief which is allowable under the circumstances of

                this case.


                                                                 Respectfully Submitted


                                                                 s//Amber K. Boyd
                                                                 Amber K. Boyd #31235-49
Case 1:21-cv-00813-TWP-DLP Document 5 Filed 04/02/21 Page 5 of 5 PageID #: 16




                                                                Attorney for Plaintiff

                               REQUEST FOR JURY TRIAL

   Comes now the Plaintiff and requests that this cause be tried by a jury.


                                                                Respectfully Submitted


                                                                s//Amber K. Boyd
                                                                Amber K. Boyd #31235-49
                                                                Attorney for Plaintiff

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